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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NICOLAS TALBOTT, et.al.

        Plaintiff,
 v.                                                              No. 1:25-cv-240-ACR

 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,
        Defendants.


     DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO
 ANSWER OR OTHERWISE RESPOND TO THE FOURTH AMENDED COMPLAINT

       Defendants respectfully move the Court for an extension of 30 days from April 7, 2025, to

and including May 7, 2025, to answer or otherwise respond to the Fourth Amended Complaint.

       The Court is well versed with the claims in this case. Plaintiffs brought this instant action

on January 28, 2025, and since then, they have amended the complaint three times. On March 18,

2025, the Court issued a preliminary injunction to maintain the status quo, and on March 26, 2025,

the Court further denied Defendants’ motion to dissolve the injunction. Defendants have appealed

both rulings and are in the midst of briefing their request to stay the preliminary injunction in the

Court of Appeals.

       Defendants’ current deadline to answer or otherwise respond to the Fourth Amended

Complaint, filed on March 24, 2025, is April 7, 2025. See Fed. R. Civ. P. 15(a)(3). Pursuant to

Federal Rule of Civil Procedure 6(b), this Court has discretion to permit an extension of time for

good cause. McFadden v. Wash. Metro. Area Transit Auth., No. 14-1115, 2014 WL 12776122, at

*2 (D.D.C. Sept. 9, 2014); Smith v. D.C., 430 F.3d 450, 456 (D.C. Cir. 2005); Lujan v. Nat’l

Wildlife Fed’n 497 U.S. 871, 896 (1990). Good cause exists because in addition to their existing

cases, undersigned counsel have been litigating numerous new cases with associated emergency
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motions for injunctive relief since the change in Administration, including two other lawsuits

similar to this instant action. See Shilling v. United States, 2:25-cv-241 (W.D. Wash.) (PI issued);

Ireland v. Hegseth, 1:25-cv-01918 (D.N.J.) (TRO issued). As a result, Defendants have not had

sufficient opportunity to coordinate with the Department of Defense, and the relevant Military

Departments, to formulate a response to the Fourth Amended Complaint, which includes a total of

32 plaintiffs, with the last 12 being added on March 24, 2025. Defendants have neither requested

nor been given any extensions of time in this matter.

       Undersigned counsel have conferred with counsel for Plaintiffs, who stated that they do

not oppose the extension request.

       For the foregoing reasons, Defendants respectfully request an extension of 30 days to

answer or otherwise respond to the Fourth Amendment Complaint.

Dated: April 2, 2025                          Respectfully submitted,


                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General

                                              ALEX HAAS
                                              Director, Federal Programs Branch

                                              JEAN LIN
                                              Special Litigation Counsel

                                              /s/ Elizabeth B. Layendecker
                                              ELIZABETH B. LAYENDECKER
                                              JASON C. LYNCH
                                              Trial Attorneys
                                              U.S. Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L. Street, NW
                                              Washington D.C. 20005
                                              (202) 616-5046
                                              Elizabeth.B.Layendecker@usdoj.gov

                                              Counsel for Defendants

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